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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

  JOHN MONTESANTI,                             §
                                               §
             Plaintiff,                        §
                                               §
  v.                                           §   Civil Action No. 3:22-CV-688-X
                                               §
  NATIONSTAIR MORTGAGE LLC,                    §
                                               §
             Defendant.                        §

                    ORDER REQUIRING ATTORNEY CONFERENCE
                        AND PROPOSAL FOR CONTENTS OF
                      SCHEDULING AND DISCOVERY ORDER

       Pursuant to Federal Rule of Civil Procedure 16(b) and the Court’s Civil Justice

Expense and Delay Reduction Plan, the Court enters this order to promote possible

early settlement of this action and to facilitate subsequent entry of a Scheduling and

Discovery Order.

                                           I.

       Lead counsel for each party (or a designee attorney with appropriate authority)

shall personally meet at a mutually agreeable location at least 14 days before the

date specified in Section VII of this order.1 Counsel shall determine in good faith

whether this case can be settled before additional expenses are incurred.

                                           II.

       If the case does not settle, counsel shall submit a Joint Proposal in the format



       1   FED. R. CIV. P. 26(f)(1)–(2).

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provided that contains the following items. The format for the Joint Proposal

can be found at the United States District Court for the Northern District of

Texas website under Judges > Judge Brantley Starr > Standard Forms.2

The parties shall submit the Joint Proposal in the format provided.

       1.        A proposed time limit to file motions for leave to join other parties and

                 to amend the pleadings;

       2.        Proposed time limits to file various types of motions;

       3.        A proposed plan and schedule for discovery, including a time limit to

                 complete discovery;

       4.        A proposal for limitations, if any, to be placed upon discovery;

       5.        A proposed time limit to designate expert witnesses;

       6.        A proposed trial date, estimated number of days required for trial, and

                 whether a jury has been demanded;

       7.        A proposed date for commencing settlement negotiations;

       8.        Whether the parties will consent to trial (jury or non-jury) before a

                 United States Magistrate Judge;3

       9.        Whether the parties are considering mediation or arbitration to resolve




       2   http://www.txnd.uscourts.gov/judge/judge-brantley-starr
       3 Before responding to this question, counsels are directed to carefully review the provisions of

28 U.S.C. § 636(c) and, specifically, section 636(c)(3).

                                                   2
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                this litigation, and if not then why not;4

      10.       Any other proposals regarding scheduling and discovery and that the

                parties believe will facilitate expeditious and orderly preparation for

                trial, including the parties’ positions on a consolidated discovery

                schedule; and

      11.       Any other matters relevant to the status and disposition of this case.

                                                 III.

      Lead counsel for plaintiff is responsible for initiating contact with opposing

counsel for the purpose of preparing the Proposal. But lead counsel for all parties are

equally responsible for seeing that this order is complied with in a timely manner. At

least one counsel for each party shall sign the Proposal prior to filing.

                                                 IV.

      If counsel cannot agree on a recommendation, the Proposal shall set forth each

party’s respective recommendation and shall state why agreement could not be

reached.

                                                 V.

      Because the Court is to enter a Scheduling Order “as soon as practicable, but

unless the judge finds good cause for delay, the judge must issue it within the earlier

of 90 days after any defendant has been served with the complaint or 60 days after



      4   The Court encourages the early use of mediation or arbitration.

                                                  3
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any defendant has appeared,”5 the Court will review with disfavor requests for

extensions of time to file the Proposal and will deny them absent a showing of good

cause.

                                           VI.

         Unless the Court sets or a party requests a scheduling conference, the

Scheduling and Discovery Order will be issued following the Court’s review of the

Proposal. Once the Scheduling Order has been issued, the Court will review with

disfavor requests for extensions of the Scheduling Order’s deadlines and will deny

them absent a showing of good cause.

                                           VII.

         The Proposal shall be filed on or before June 23, 2022.

         IT IS SO ORDERED this 16th day of May, 2022.




                                         BRANTLEY STARR
                                         UNITED STATES DISTRICT JUDGE




         5   FED. R. CIV. P. 16(b)(2).

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